              Case 23-40798-BSK                   Doc 1     Filed 08/25/23 Entered 08/25/23 13:59:49                                  Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEBRASKA, LINCOLN DIVISION

Case number (if known)                                                     Chapter      12
                                                                                                                          Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sis Farms, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  71313 Road 384
                                  McCook, NE 69001-8565
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Red Willow                                                     Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 71313 Road 384 McCook, NE 69001-8565
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Sis Farms, LLC                                                                                Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “ small          Chapter 9
     business debtor”must check         Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                              cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor” ) must                               procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                  (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                  under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                   When                                    Case number
                                                District                                   When                                    Case number




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Debtor    Sis Farms, LLC                                                                                    Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                       $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion

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         Name

                           $50,001 - $100,000                       $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                           $100,001 - $500,000                      $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                          $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




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Debtor    Sis Farms, LLC                                                                                  Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       August 24, 2023
                                                    MM / DD / YYYY


                              X /s/ Marshell G. Sis                                                              Marshell G. Sis
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Authorized Signer




18. Signature of attorney     X /s/ John A. Lentz                                                                  Date August 24, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  John A. Lentz ~24420
                                  Printed name

                                  Lentz Law, PC, LLO
                                  Firm name


                                  650 J St Ste 215B
                                  Lincoln, NE 68508-2900
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (402) 421-9676                  Email address         john@johnlentz.com

                                  24420
                                  Bar number and State




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                                                                  United States Bankruptcy Court
                                                                District of Nebraska, Lincoln Division

       IN RE:                                                                                                   Case No.
       Sis Farms, LLC                                                                                           Chapter 12
                                                             Debtor(s)

                                                            VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: August 24, 2023                                 Signature: /s/ Marshell G. Sis
                                                                           Marshell G. Sis, Authorized Signer                               Debtor



       Date:                                                 Signature:
                                                                                                                                Joint Debtor, if any




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     Cody E. Siegfried
     PO Box 607
     McCook, NE 69001


     First Central Bank
     904 N Highway 83
     McCook, NE 69001-2982


     Internal Revenue Service
     PO Box 7346
     Centralized Insolvency Operations
     Philadelphia, PA 19101-7346


     Nebraska Department Of Revenue
     Attn: Bankruptcy Unit NE State Office Bl
     PO Box 94818
     Lincoln, NE 68509-4818


     Red Willow Aviation & Spraying, Inc.
     308 Airport Rd
     McCook, NE 69001-9747


     Red Willow County Attorney
     124 W C St
     McCook, NE 69001-3612


     Red Willow County Treasurer
     502 Norris Ave Ste 6
     McCook, NE 69001-2000
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     US Bank
     12090 Orange St
     Wilmington, DE 19801
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        Fill in this information to identify the case:
 Debtor name Sis Farms, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEBRASKA,                                                                                   Check if this is an
                                               LINCOLN DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 First Central Bank                                                                                                                                                              $0.00
 904 N Highway 83
 McCook, NE
 69001-2982
 Internal Revenue     Internal Revenue                                                                                                                                           $0.00
 Service              Service
 PO Box 7346
 Centralized
 Insolvency
 Operations
 Philadelphia, PA
 19101-7346
 Nebraska             Nebraska                                                                                                                                                   $0.00
 Department Of        Department Of
 Revenue              Revenue
 Attn: Bankruptcy
 Unit NE State Office
 Bl
 PO Box 94818
 Lincoln, NE
 68509-4818
 Red Willow Aviation                                                                                                                                                             $0.00
 & Spraying, Inc.
 308 Airport Rd
 McCook, NE
 69001-9747
 Red Willow County Red Willow County                                                                                                                                             $0.00
 Attorney             Attorney
 124 W C St
 McCook, NE
 69001-3612
 Red Willow County Red Willow County                                                                                                                                             $0.00
 Treasurer            Treasurer
 502 Norris Ave Ste 6
 McCook, NE
 69001-2000



Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Sis Farms, LLC                                                                                    Case number (if known)
           Name

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 US Bank                                                                                                                                                                         $0.00
 12090 Orange St
 Wilmington, DE
 19801




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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